






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN





                                               

ON MOTION FOR RECONSIDERATION EN BANC









NO. 03-05-00585-CR

NO. 03-05-00586-CR






Ex parte James W. Ellis






NO. 03-05-00589-CR

NO. 03-05-00590-CR

NO. 03-05-00591-CR

NO. 03-05-00592-CR

NO. 03-05-00593-CR

NO. 03-05-00594-CR

NO. 03-05-00595-CR

NO. 03-05-00596-CR

NO. 03-05-00597-CR

NO. 03-05-00598-CR

NO. 03-05-00599-CR

NO. 03-05-00600-CR

NO. 03-05-00601-CR

NO. 03-05-00602-CR

NO. 03-05-00603-CR






Ex parte John Dominick Colyandro






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 331ST JUDICIAL DISTRICT

NOS. 9040564, 9040565, 9040566, 9040567, 9040568, 9040569, 9040570, 9040571, 9040572, 9040573,
9040574, 9040575, 9040576, 9040577, 9040598, D-1-DC-2005-904121, &amp; D-1-DC-2005-904122
HONORABLE BOB PERKINS, JUDGE PRESIDING






O R D E R

PER CURIAM

		The State has filed a motion for reconsideration en banc.  The motion is denied..

		It is ordered March 17, 2009.


Before Chief Justice Jones, Justices Patterson, Puryear, Pemberton, Waldrop and Henson;

     Chief Justice Jones not participating

     Dissenting Opinion by Justice Patterson

     Dissenting Opinion by Justice Henson


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